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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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JOSE ZALDIVAR,

                                   Plaintiff,                    FLSA INITIAL DISCOVERY
                                                                 AND MEDIATION REFERRAL
                 -against-                                       ORDER
                                                                 CV 22-65 (GRB)(ARL)
LEVENT COMPANY, LTD., MUSLUM
LEVENT,

                                    Defendants.
-------------------------------------------------------------X
LINDSAY, Magistrate Judge:

        The Federal Rules of Civil Procedure require a pretrial schedule tailored to the

circumstances of each case. Fed. R. Civ. P. 16. The following order implements that

requirement for cases based on the Fair Labor Standards Act (FLSA).

        The Rule 26(a)(1) provisions on initial disclosures are waived in this case. Instead, the

parties must utilize the following discovery protocol and comply with the following deadlines

and requirements:

                 1. On or before November 14, 2022, the parties must serve on
                 each other (but not file) copies of the following:

                          Plaintiff 1: The documents in the Plaintiff's possession,
                          custody, or control that pertain to the unpaid wages claimed
                          in the Complaint.

                          Defendant: (1) The time sheets or other time records and payroll records in
                          the Defendant's possession, custody, or control that pertain to work the
                          Plaintiff performed during the period for which the Plaintiff claims unpaid
                          wages; and (2) any written statement of policy, workplace rules, or
                          handbook setting out the policies and practices on compensating workers
                          performing the relevant type of work.

                 2. On or before December 2, 2022, the Plaintiff must answer the
                 Court's Interrogatories attached to this Order, under oath or penalty

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       If there is more than one Plaintiff or Defendant, the singular reference to the Plaintiff or
Defendant includes the plural.
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            of perjury and serve a copy on the Defendant.

            3. In collective actions, the exchange of documents in Paragraph 1
            will occur for the named Plaintiffs and for the opt-in Plaintiffs who
            join the action before a court-approved opt-in notice is issued.
            For all other opt-in plaintiffs, this document exchange will occur
            within 21 days after the response opt-in notices are filed with the
            court. Each opt-in Plaintiff will file and serve his or her
            respective answers to the Court's Interrogatories within 42 days
            after the opt-in notices are filed.

            4. By January 6, 2023, after the named Plaintiff answers the
            Court's Interrogatories, counsel for the Plaintiff and the Defendant
            must meet and confer, in person, in a good-faith effort to settle all
            pending issues, including attorneys' fees and costs. The parties,
            including a representative of each corporate party with full
            authority, will at a minimum, be available by telephone during the
            conference to consider and approve any settlement.

            5. On or before January 17, 2023, counsel must file a joint status
            report that notifies the Court: (1) whether the parties have reached
            an agreement to settle the case and will be submitting that
            agreement to the Court for review and approval; or (2) if they were
            unable to settle the matter on their own, whether they choose to
            participate in a formal mediation before an EDNY mediator or a
            private mediator. All parties must participate in mediation if they
            have been unable to settle the case on their own. If the parties
            choose to use a private mediator, they must also provide a specific
            date for the mediation.

            6. On or before March 3, 2023, the Plaintiff must provide the
            Defendant with a copy of any expert report on which the Plaintiff
            intends to rely for issues on which the Plaintiff has the burden of
            proof, consistent with Rule 26(a)(2), of the Federal Rules of Civil
            Procedure.

            7. Upon completion of the mediation, counsel must file a Report
            Regarding Mediation and indicate whether (1) the parties have
            reached an agreement in principle to settle the case and will be
            submitting that agreement to the Court for review and approval; or
            whether (2) the parties agree they have exhausted settlement
            efforts, in which case the Court will issue a discovery schedule.




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       All discovery in this case is stayed, except as provided in this Order and until such time

as the Court issues a discovery schedule. Due to the volume of cases based on the FLSA, the

Court expects strict adherence to these deadlines and requirements. Exceptions will be granted

only for compelling reasons. Failure to comply is a violation of a court order and sanctionable

on that basis. The parties may move to alter this schedule for good cause. Any such request

shall only be made after the parties confer and shall be made by joint letter request filed via this

Court's ECF system.




Dated: Central Islip, New York                        SO ORDERED:
       October 13, 2022

                                                      __________/s________________
                                                      ARLENE R. LINDSAY
                                                      United States Magistrate Judge




                                      INTERROGATORIES

1.     During what period of time did you work for the Defendant?

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 2.   Who was your immediate supervisor?

 3.   Did you have a regularly scheduled work period? If so, specify.

 4.   What was your title or position? Briefly describe your job duties.

 5.   What was your regular rate of pay?

 6.   What is the nature of your claim? (Check all that apply.)

      ____ Off-the-clock work (Defendant failed to record, or prohibited you from recording,
      all of your working time);

      _____ Misclassification (Defendant mistakenly classified you as exempt from overtime);

      _____ Misclassification (Defendant failed to correctly calculate your compensation);

      _____ Other (Please describe).

7.     Provide an accounting of your claim, including:
      a)      dates
      b)      regular hours worked
      c)      over-time hours worked
      d)      pay received versus pay claimed
      e)      total amount claimed

8.     If you have brought this case as a collective action:
      a.       Describe the class of employees you seek to include in this action.
      b.       Has an opt-in notice been filed for every potential opt-in Plaintiff who has
      identified himself or herself as a person who wishes to join this action?

9.    Please specify all attorney's fees and costs incurred to date. With respect to attorney's
      fees, please provide the hourly rate(s) sought and the number of hours expended by each
      person who has billed time to this case.

10.   When did you (or your attorney) first complain to your employer about alleged violations
      of the FLSA?

11.   Was this complaint written or oral? (If a written complaint, please attach a copy).

12.   What was your employer's response? (If a written response, please attach a copy).




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STATE OF___________________________ COUNTY OF_____________________________

BEFORE ME, the undersigned authority, on this day, personally appeared__________________,
who being first duly sworn, deposes and says that he/she has read the foregoing Answers to
Interrogatories, knows the contents of the same, and to the best of his/her knowledge and belief,
the same are true and correct.

Sworn to and subscribed before me on this ________ day of _______________, ____________.

NOTARY PUBLIC
_________________________________________
Signature of person taking acknowledgment
Print name:
Title notary public
Serial no. (if any):
Notary Stamp                              Commission expires:




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